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         IN THE UNITED STATES DISTRICT COURT FOR THE
              NORTHERN DISTRICT OF OKLAHOMA

    1. SCOTT LANE BROWN,                        )
    2. LAURIE ANN BROWN,                        )
                                                )
              Plaintiffs,                       )
                                                )
  v.                                            )Case No.:18-cv-60-GKF-FHM
                                                )
     1. CSAA FIRE & CASUALTY INSURANCE )
        COMPANY, a foreign for profit Insurance )
        Corporation,                            )
                                                )
             Defendant.                         )

                                   COMPLAINT

                                     A. Parties

    1.   Plaintiffs, Scott Lane Brown and Laurie Ann Brown, are each citizens of

 the State of Oklahoma.

    2.   Defendant, CSAA Fire & Casualty Insurance Company, is a foreign for-

 profit insurance corporation, incorporated and organized under the laws of the State

 of Indiana.

    3.   The principal place of business for Defendant, CSAA Fire & Casualty

 Insurance Company, is Walnut Creek, California.

    4.    The Defendant, CSAA Fire & Casualty Insurance Company, is licensed to

 conduct business in the State of Oklahoma and may be served with process through

 the Oklahoma Department of Insurance.
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     5.    This action is not related to any other case filed in this court.

                                     B. Jurisdiction

    6.     The court has jurisdiction over this matter pursuant to 28 U.S.C. § 1332

 because there is diversity between the parties and the amount in controversy

 exceeds $75,000.00, exclusive of interest and costs.

                                         C. Facts

    7.     At all times material hereto, the Plaintiffs, Scott Lane Brown and Laurie

  Ann Brown, owned a home located at 1700 S. Desert Palm Avenue in Broken

  Arrow, Oklahoma, which was insured under the terms and conditions of a

  homeowners insurance policy, policy number HO3-003475635, issued by the

  Defendant, CSAA Fire & Casualty Insurance Company.

    8.     At all times material hereto, the Plaintiffs, Scott Lane Brown and Laurie

  Ann Brown, complied with the terms and conditions of their insurance policy.

    9.     On or about May 11, 2017, the Plaintiffs’ home sustained damage as a

  result of hail. These damages are covered pursuant to the terms and conditions of

  Plaintiffs’ insurance policy.

   10.    Hail is a covered peril not limited or excluded pursuant to the terms and

  conditions of Plaintiffs’ insurance policy.

                            D. Count I: Breach of Contract

    11.    Plaintiffs, Scott Lane Brown and Laurie Ann Brown, hereby assert, allege
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  and incorporate paragraphs 1-10 herein.

    12.     The homeowners insurance policy, policy number HO3-003475635,

  issued by Defendant, CSAA Fire & Casualty Insurance Company, was in effect on

  May 11, 2017.

    13.     Plaintiffs, Scott Lane Brown and Laurie Ann Brown, timely submitted a

  claim to Defendant, CSAA Fire & Casualty Insurance Company, Claim Number

  1002-21-4551. Defendant refused to issue payment to fully repair and/or replace

  Plaintiffs’ obviously hail damaged roofing system pursuant to the policy terms and

  conditions. Defendant’s refusal to pay for repair and/or replacement of the

  Plaintiffs’ hail damaged roofing system constitutes a breach of the insurance

  policy.

     14.    The acts and omissions of Defendant, CSAA Fire & Casualty Insurance

  Company, in the investigation, evaluation, and denial of Plaintiffs’ claim were

  unreasonable and constitute a breach of contract for which contractual damages are

  hereby sought. Defendant, CSAA Fire & Casualty Insurance Company, breached

  its contract with Plaintiffs, Scott Lane Brown and Laurie Ann Brown, by failing to

  conduct a reasonable investigation of the Plaintiffs’ claim and by improperly

  denying payment and coverage for Plaintiffs’ obviously hail damaged roofing

  system. During its inspection of Plaintiffs’ property, Defendant unreasonably

  ignored and refused to consider obvious evidence of hail damage and denied the
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  Plaintiffs’ claim without adequate investigation and without any reasonable basis.

                               E. Count II: Bad Faith

     15.   Plaintiffs, Scott Lane Brown and Laurie Ann Brown, hereby assert, allege

  and incorporate paragraphs 1-14 herein.

     16.    The acts and omissions of the Defendant, CSAA Fire & Casualty

  Insurance Company, in the investigation, evaluation and payment of Plaintiffs’

  claim were unreasonable and constitute bad faith for which bad faith and extra-

  contractual damages are hereby sought.

     17.    Defendant CSAA Fire & Casualty Insurance Company’s refusal to pay

  the cost to repair and/or replace the Plaintiffs’ obviously hail damaged roofing

  system is a bad faith breach of Plaintiffs’ insurance policy. Defendant, CSAA Fire

  & Casualty Insurance Company, acted in bad faith by failing to conduct a

  reasonable investigation of the Plaintiffs’ claim and by improperly denying

  payment and coverage for Plaintiffs’ obviously hail damaged roofing system.

  During its inspection of Plaintiffs’ property, Defendant unreasonably ignored and

  refused to consider obvious evidence of hail damage and denied the Plaintiffs’

  claim without adequate investigation and without any reasonable basis.

     18.     Defendant CSAA Fire & Casualty Insurance Company’s refusal to pay

  for the damage to Plaintiffs’ roofing system was unreasonable, outside of insurance

  industry standards, and was committed in bad faith.
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                                 F. Punitive Damages

     19. Plaintiffs, Scott Lane Brown and Laurie Ann Brown, hereby assert, allege

  and incorporate paragraphs 1-18 herein.

     20.     The unreasonable conduct of the Defendant, CSAA Fire & Casualty

  Insurance Company, in the handling of Plaintiffs’ claim was intentional, willful,

  wanton and was committed with a reckless disregard for the rights of the Plaintiffs,

  Scott Lane Brown and Laurie Ann Brown, for which punitive damages are hereby

  sought.

                              G. Demand for Jury Trial

     21.    Plaintiffs, Scott Lane Brown and Laurie Ann Brown, hereby request that

  the matters set forth herein be determined by a jury of their peers.

                                       H. Prayer

     22.      Having properly pled, Plaintiffs, Scott Lane Brown and Laurie Ann

  Brown, hereby seek contractual, bad faith and punitive damages against the

  Defendant, CSAA Fire & Casualty Insurance Company, together in an amount in

  excess of $75,000.00; including costs, interest and attorney fees.
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                                     Respectfully submitted,

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